                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

BRIAN P. MANOOKIAN,                                  )
                                                     )
               Plaintiff,                            )
                                                     )
v.                                                   )       Case No. 3:22-cv-01039
                                                     )       Chief Judge Crenshaw
UNITED STATES OF AMERICA, et al.,                    )       Magistrate Judge Frensley
                                                     )
               Defendants.                           )

                  AGREED ORDER OF DISMISSAL WITH PREJUDICE

        The parties, Plaintiff, Brian P. Manookian and Defendants, United States of America and

the Federal Bureau of Investigation, informs the Court that all matters between the parties have

been settled and compromised. Accordingly, this action is hereby DISMISSED with prejudice

against the Defendants. Each party is to bear their own costs, expenses, and fees, and no

attorney’s fees, costs, or expenses under the Equal Access to Justice Act, or any other provision of

law, will be sought.

        It is so ORDERED.

        ENTERED this the ________ day of August 2023.



                                              _________________________________________
                                              CHIEF JUDGE CRENSHAW
                                              United States District Judge




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